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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA


   Jaime Beck, Byron Hanson, and Lynn
   Melcher,

                                 Plaintiffs,           Civil Action No. 0:19-CV-01453
                                                       (PJS/SER)
                    v.

   WILLIAM F. AUSTIN, BRANDON                             AMENDED CLASS ACTION
   SAWALICH, JEROME RUZICKA, SCOTT                            COMPLAINT
   A. NELSON, LAWRENCE W. MILLER, W.
   JEFFREY TAYLOR, JEFFREY LONGTAIN,
   and STARKEY LABORATORIES, INC.                        JURY TRIAL DEMANDED

                                 Defendants.


           Plaintiffs Jaime Beck, Byron Hanson, and Lynn Melcher (collectively, “Plaintiffs”),

based upon personal knowledge as to themselves and their own acts, and information and

belief as to all other matters formed after an inquiry reasonable under the circumstances,

assert the following in support of their claims and those of the putative class, against

Defendants.

                                       INTRODUCTION

           1.    Plaintiffs, who are Starkey Employee Stock Ownership Plan (“ESOP”)

participants, bring this action on behalf of all ESOP participants and their beneficiaries to

recover the assets they lost as a direct result of Defendants’ mail fraud, wire fraud, and

embezzlement of funds, and Defendants’ failure to meet their duty to be reasonably prudent

fiduciaries, and to recover embezzled funds to the ESOP.




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           2.   Between 2006 and 2015, Jerome Ruzicka, Scott Nelson, Lawrence Miller,

Jeffrey Taylor, and Jeffrey Longtain (hereinafter the “RICO Defendants”) stole over

$30,000,000 under their own tallies from Starkey Laboratories, a corporation that

manufactures hearing aids. Starkey is a privately held corporation that was owned, in part,

by its employees through an ESOP. By stealing tens of millions of dollars from the

company, these defendants stole from Starkey’s owners, including the ESOP. The ESOP

was entitled to distributions from Starkey’s profits and it suffered from receiving

significantly lower contributions due to the Defendants’ theft, remained underfunded, and

suffered substantial losses as a result of the RICO Defendants’ conduct. Over the course

of at least 2008 until the ESOP was shuttered at the end of 2017, the ESOP lost almost $37

million dollars and had a net loss of almost $4 million dollars over the same period, even

accounting for all profits and dividends, despite Starkey itself having its “most profitable

year ever” during that time, and estimated annual revenues of up to $850 million.

           3.   In 2016, a federal grand jury indicted Ruzicka, Nelson, Miller, and Taylor of

committing mail and/or wire fraud in the course of their overall scheme to defraud Starkey.

Nelson and Longtain pleaded guilty to conspiracy and tax fraud, respectively, and testified

against Ruzicka and Taylor. Nelson was sentenced to 24 months in federal prison in

Duluth, which he is currently serving. In 2018, a jury found defendants Ruzicka and Taylor

guilty of several counts of mail and wire fraud. Ruzicka and Taylor were finally sentenced

on May 15, 2019. Taylor is currently serving a sentence of 18 months in federal prison in

Duluth, and Ruzicka is currently serving a sentence of 84 months in federal prison in

Duluth.


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           4.   Ruzicka, Miller, and Nelson each served as ESOP fiduciaries during the time

period in which they stole over $30,000,000 from Starkey. William Austin, Starkey’s

founder and CEO, served as an ESOP fiduciary in his role as trustee, and though Austin told

investigators he heard rumors of financial looting as early as 2006, he failed to investigate

until 2015. After Austin discovered Ruzicka’s fraud, he replaced Ruzicka as an ESOP

trustee with his stepson, Brandon Sawalich. Although Austin and Sawalich have maintained

that they had no knowledge of the theft led by Ruzicka until 2015, they both owed duties of

prudence and loyalty to ESOP beneficiaries. Austin, Sawalich, Ruzicka, Miller, and Nelson

are referred to in this complaint as “Fiduciary Defendants.”

           5.   The Fiduciary Defendants owed the ESOP fiduciary duties and were required

to act prudently and solely in the interest of all of the participants and beneficiaries of the

ESOP, including Plaintiffs and the Class. This included not defrauding or embezzling tens

of millions of dollars, engaging in proper oversight, and bringing a shareholder derivative

action against the RICO Defendants for their blatant violations of corporate fiduciary duties

under Minnesota Law. Had the Fiduciary Defendants brought such an action, they would

likely have prevailed and recovered the funds stolen from Starkey and the ESOP participants

and beneficiaries. Defendants Austin and Sawalich allege that they were unaware of the

fraud committed by Ruzicka, Miller, and Nelson while it was happening, but admit they

failed to investigate until 2015 despite hearing rumors as early as 2006 and still have failed

to take any action for the benefit of the ESOP up until and including the filing of this

complaint. They had duties under ERISA to bring a derivative action to recover the funds

stolen by the fraud defendants, and by failing to do so, violated their fiduciary obligations


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to plaintiffs. In fact, Austin filed a motion under the Crime Victim’s Rights Act requesting

the court name himself and Starkey as “crime victims,” but did not seek to name the ESOP

as a victim of fraud or attempt to recover the stolen funds for the ESOP. The Court ordered

that Starkey Laboratories, Inc. be considered a crime victim pursuant to the Crime Victim’s

Rights Act, even while acknowledging that Austin had failed to pursue Crime Victim status

for the ESOP and noting that the law could not benefit the ESOP or Austin as the only

shareholders of Starkey.

           6.   During the course of their $30,000,000 theft, the RICO Defendants committed

mail fraud, wire fraud, and embezzlement of employee benefit plan funds in violation of

RICO, 18 U.S.C. §§ 1962 (c) and (d). Plaintiffs bring this civil RICO action to recover those

funds stolen from the ESOP.

           7.   By failing to bring a derivative shareholder action against the RICO

Defendants, breaching their fiduciary duties of prudence and loyalty, enabling co-

fiduciaries to breach their duties through negligent oversight, and failing to cure their co-

fiduciaries’ breaches, Fiduciary Defendants violated their fiduciary duties under ERISA,

29 U.S.C. § 1104(a)(1) and § 1105(a)(1)-(3). Plaintiffs bring this ERISA action to recover

the funds lost by the ESOP as a result of the Fiduciary Defendants’ breaches of their

fiduciary duties.

                                        THE PARTIES

           8.   Plaintiff Jaime Beck is a natural person, residing in the District of Minnesota.

She was an employee of Starkey from August 2006 until July 2015, and was a participant

in the ESOP from August 2006 until July 2015.


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           9.    Plaintiff Byron Hanson is a natural person, residing in the District of

Minnesota. He was an employee of Starkey from April 1985 until March 2017, and has

been a participant in the ESOP from the start of the ESOP until December 31, 2017.

           10.   Plaintiff Lynn Melcher is a natural person, residing in the District of

Minnesota. She was an employee of Starkey from October 2008 until April 2016, and was

a participant in the ESOP from July 2009 until December 31, 2016.

           11.   Defendant Starkey Laboratories Inc. (“Starkey”) is a corporation domiciled in

the state of Minnesota and maintains its principal place of business in Minnesota. Starkey

is a large manufacturer of hearing aids and its corporate headquarters are located in Eden

Prarie, Minnesota. Starkey is owned exclusively by its Founder and the ESOP.

           12.   Defendant William Austin (“Austin”) is a natural person, residing in the

District of Minnesota. He is the Founder and CEO of Starkey.

           13.   Defendant Jerome Ruzicka (“Ruzicka”) is a natural person residing in the

District of Minnesota. He was the President of Starkey until 2015.

           14.   Defendant Scott Nelson (“Nelson”) is a natural person residing in the District

of Minnesota. He was the Chief Financial Officer of Starkey until 2015.

           15.   Defendant Lawrence Miller (“Miller”) is a natural person residing in the

District of Minnesota. He was a Senior Vice President of Human Resources until 2015.

           16.   William Jeffrey Taylor (“Taylor”) is a natural person residing in the District

of Minnesota. He was the President of Sonion, U.S. (“Sonion”) until 2015 and did business

with Starkey.




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           17.     Defendant Jeffrey Longtain (“Longtain”) is a natural person residing in the

District of Minnesota. He was the President of the Northland Hearing Centers (“NHC”), a

wholly owned, and the largest, subsidiary of Starkey.

           18.     Defendant Brandon Sawalich (“Sawalich”) is a natural person residing in the

District of Minnesota. He is currently the President of Starkey and Austin’s stepson.

                                  JURISDICTION AND VENUE

           19.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

(federal question jurisdiction), 29 U.S.C. § 1132(e) (ERISA), and 18 U.S.C. § 1964(a)

(RICO), because Plaintiffs’ claims arise under ERISA and RICO.

           20.     Venue is appropriate in this District, and this Court has personal jurisdiction

because each Defendant resides in the District and the misconduct alleged herein arose out

of actions in Minnesota.

                                   FACTUAL ALLEGATIONS

    I.           The Starkey ESOP

           21.     The Starkey Laboratories, Inc. Employee Stock Ownership Plan, referred to

herein as the “ESOP,” was originally effective January 1, 2004, and was in effect and active

until December 31, 2017. The provisions of the ESOP were most recently amended and

restated effective January 1, 2017, and the ESOP was frozen effective December 31, 2017,

via written action of the sole director of Starkey, Defendant Austin, in lieu of a meeting. As

a result of the action to freeze the Plan effective December 31, 2017, all contributions to the

Plan were discontinued except for contributions for the 2017 Plan year that had been, or




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would be, approved by Defendant Austin. The ESOP was an employee stock ownership

plan pursuant to 26 U.S.C. § 4975(e)(7) and 26 U.S.C. § 401(a).

           22.   The principal purposes of the ESOP were to “recognize and reward the

contributions made by Employees to the successful operation of the Employer’s business

and to provide each eligible Employee with an equity interest in Stock, financed by

Employer contributions.” Starkey Laboratories, Inc. Employee Stock Ownership Plan, As

Amended and Restated Effective January 1, 2017.

           23.   Defendant Austin was at all relevant times a trustee of the ESOP since its

formation and a fiduciary under ERISA with “discretionary responsibility in the

administration” of the ESOP pursuant to 29 U.S.C. § 1002 (21)(A) and 29 U.S.C.

§ 1102(a)(1). Austin was removed as a trustee and replaced by Horizon Bank, N.A. d/b/a

Horizon Trust & Investment Management (“Horizon Bank”) in late 2017.

           24.   Defendant Ruzicka was a trustee of the ESOP and a fiduciary under ERISA

with “discretionary responsibility in the administration” of the ESOP pursuant to 29 U.S.C.

§ 1002 (21)(A) and 29 U.S.C. § 1102(a)(1) from the formation of the ESOP until his

termination in 2015.

           25.   Defendant Nelson was an ESOP administrator from at least 2011 to 2013 and

a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the authority to administer the

ESOP.

           26.   Defendant Miller was an ESOP administrator from at least 2010 to 2014 and

a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the authority to administer the

ESOP.


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           27.     Defendant Sawalich was appointed an ESOP trustee by Austin in 2016 and,

therefore, is a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the authority to

exercise control over the ESOP. Sawalich was removed as a trustee and replaced by Horizon

Bank in late 2017.

    II.          RICO and Fiduciary Defendants’ Scheme to Defraud Starkey and the ESOP
                 and Failure to Engage in Proper Oversight or Prudence.

           28.     From at least 2006 to September 2015, Ruzicka conspired with Nelson,

Miller, Longtain, and Taylor to defraud and steal money and property from Starkey. See

Indictment ¶ 18, United States v. Ruzicka, 16-cr-00246-JRT-SER (D. Minn. Sept. 21, 2016).

Ruzicka did so by forming a sham company, Archer Consulting, with Taylor and using that

company as a vehicle to bill Starkey for services it did not actually provide. Id. ¶ 19(a).

Additionally, Ruzicka and Nelson awarded themselves and Longtain restricted stock in

Starkey’s subsidiary, NHC. In doing so, they issued themselves 51% of the ownership of

NHC and Starkey only 49%, diluting the value of the company by siphoning off share value

that would have been used in valuing Starkey for purposes of determining the contributions

to the ESOP. As a result, the ESOP was underfunded. Later, after having issued themselves

restricted stock in NHC, Ruzicka and Nelson then paid themselves and Longtain

$15,000,000 in exchange from Starkey for terminating the restricted stock grants. Id.

¶ 19(c). Ruzicka, Nelson, and Miller also stole money and property from Starkey for

themselves in the form of bonuses and luxury property, including a personal Minnetonka

condo and a Jaguar car. Id. ¶ 19(d).

           29.     Austin and Sawalich knew or had reason to know that this fraud existed as

early as 2006. However, the structural failures of Starkey, and the failures of Austin and

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Sawalich to properly oversee Starkey or engage in prudent management breached their

fiduciary duties to the ESOP and its beneficiaries. For example, as Fred Zimmerman, a

University of St. Thomas professor emeritus noted, “There are standards of corporate

protocol which owners, executives, managers and employees should all abide by,” which

Austin and Starkey failed at.1

           30.   From 2006 until at least 2015, Austin was the sole member of the board of

directors at Starkey. There was no audit committee to review results or team to take action

on problems. At the same time, Austin admitted that he did not read financial reports, did

not oversee the day to day operations of Starkey, and did not read or oversee the financial

and corporate documents he was solely responsible for. Documents in the criminal trial

included evidence of a history of forged signatures, deleted payroll records, concealed

checks and hidden payments.

           31.   According to Karl Strom, a longtime editor of the Hearing Review, a trade

publication based in Duluth, Austin abandoned his fiduciary duties to the company and the

ESOP entirely in order to work with Starkey’s humanitarian arm. According to a 2018

Forbes profile, “[f]or years, the only consistent sign of [Austin’s] presence at the company’s

headquarters was the life-size statue of himself near one of the entrances; meanwhile he was

rubbing elbows with celebrities like Johnny Depp and Katy Perry.” 2 Instead, Austin spent



1
  See Dee DePass, Starkey Trial Talk of Town as Legal, Business Experts Dissect Split
Verdict, Star Tribune (Mar. 9, 2018), available at http://www.startribune.com/starkey-
trial-talk-of-town-as-legal-business-experts-dissect-split-verdict/476432743/     (last
accessed May 22, 2019).
2
  See Michela Tindera, Runaway Billionaire: Meet the CEO Whose Company Descended
into Fraud, Embezzlement and Betrayal, Forbes Magazine (June 12, 2018), available at

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25 hours a week traveling in conjunction with the foundation. “With Ruzicka running the

place, Austin was free to emulate his hero, Albert Schweitzer, and travel the world doing

good. ‘[Austin] literally handed over the reins of the company to [Ruzicka], and [Ruzicka]

ran the company,’ Strom says. ‘[Austin] would brag about not being involved in the day-to-

day operations.’” Austin did not review financial statements, budgets, or audits, and

testified “if anybody ever handed me one—I wouldn’t read it because I wouldn’t know how

to read [the audit reports].”

           32.   At no point during the class period has any fiduciary at Starkey, or any of the

Fiduciary Defendants, reconciled this past misconduct to make the ESOP whole.

                                    Archer Consulting

           33.   Ruzicka and Taylor formed Archer Consulting and used that entity to bill

Starkey for false commissions and consulting fees. See Indictment ¶¶ 22, 24, United States

v. Ruzicka, 16-cr-00246-JRT-SER (D. Minn. Sept. 21, 2016). Between 2006 and 2015,

Ruzicka and Taylor stole $7,650,000 from Starkey by issuing false invoices to Starkey from

Archer Consulting. Id. ¶ 20.

           34.   Beginning in 2006, Ruzicka had Starkey pay Archer Consulting a

“commission” on all sales made by Sonion to Starkey. Id. ¶ 22. Taylor was the president of

the U.S. division of Sonion. Taylor submitted the invoices to Ruzicka, who would then

cause Starkey to pay Archer Consulting. Id. ¶ 23.




https://www.forbes.com/sites/michelatindera/2018/06/12/starkey-hearing-bill-
austin/#185010263090 (last accessed May 22, 2019).

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           35.   Around 2010, Ruzicka and Taylor stopped referring to the payments as

commissions and instead began calling the payments “consulting fees.” Id. ¶ 24. They

signed and back-dated a consulting agreement in which Starkey hired Archer Consulting

for advice on purchasing transducers, a hearing aid component Sonion sold to Starkey. Id.

The agreement established that Starkey would pay Archer Consulting $75,000 per month.

Id. From 2010 to 2015, Ruzicka and Taylor issued invoices for these fees to Starkey and the

two would then split the payments. Id. ¶ 25.

                                      NHC Stock Fraud

           36.   After 35 years of manufacturing hearing aids, Starkey decided to jump into

the retail business in 2005, and bought its first hearing aid store in order to prevent a

competitor from taking it over. This retail sales operation was organized under a subsidiary

of Starkey, a Northland retail subsidiary, which was 100% owned by Starkey. The profits

from this subsidiary contributed to the assets and stock of the ESOP.

           37.   Around 2006, Ruzicka and Nelson formed NHC as a new subsidiary of the

Northland retail subsidiary. See Indictment ¶ 37, United States v. Ruzicka, 16-cr-00246-

JRT-SER (D. Minn. Sept. 21, 2016). They caused NHC to issue 100,000 shares of stock,

51,000 of which were stock shares issued to themselves and Longtain. Id. ¶ 38. As a result,

Starkey lost 51% of the stock in the Northland retail subsidiary, and those assets were

unavailable for the ESOP. The stock had a ten year vesting period and if their employment

was terminated during that time, they would lose their shares. Id. Ruzicka approved all

aspects of the change under his signatory power for Starkey. Ruzicka, Nelson, and Longtain




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also used life insurance policies and other bonuses to reward Starkey employees who helped

them, to the detriment of company profits and ESOP assets.

           38.   Austin heard rumors about the Northland improprieties starting in 2006, but

did not investigate them until 2015, when he heard from an employee that Ruzicka was

forming a new company that would compete with Starkey. Austin also would have had

access to the audited financial statements that laid out Northland and NHC’s ownership

structure year after year, and was responsible for and required to sign off on corporate and

tax filings as Starkey’s sole director, but still failed to investigate improprieties by the RICO

Defendants. Austin’s negligent oversight of the ESOP enabled Ruzicka, Nelson, and Miller

to breach their duties of loyalty and prudence to the ESOP.

           39.   Miller and Ruzicka engaged in a cover-up of their conduct. Miller deleted all

NHC items from executive compensation records in order to hide and continue to perpetrate

the fraud.

           40.   Around 2013, Ruzicka caused NHC to pay Ruzicka and Nelson

approximately $15,000,000 for their unvested stock from Starkey assets. Id. ¶ 39. Nelson

directed Starkey to pay Ruzicka, Nelson, and Longtain a total of $8,200,000. Id. ¶ 40. In

December 2013, Nelson “grossed up” the payments for taxes, sending approximately

$7,000,000 from Starkey to the IRS on behalf of Ruzicka, Nelson, and Longtain. Id.

                                 Bonuses and Luxury Property

           41.   In 2006, Ruzicka signed an employment agreement with Miller that granted

Miller an annual bonus of $50,000 from 2006 to 2015. Id. ¶ 44. At Ruzicka and Miller’s

direction, Starkey paid Miller about $88,250 annually, which consisted of the $50,000


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bonus “grossed up” for taxes. Id. Miller, Ruzicka, and Nelson manipulated Starkey’s gross

payroll reports to conceal Miller’s bonuses. Id. ¶ 45. Starkey’s director of payroll would

email completed payroll reports to Miller, who would then modify them to hide his

compensation. Id. ¶ 46.

           42.   In 2015, Starkey paid $390,000 to Ruzicka in the form of a bonus, “grossed

up” for taxes. Id. ¶ 50. Ruzicka told Miller to process this bonus and falsely claimed it was

justified because Starkey’s revenue had grown by more than 10% in 2014. Id. Ruzicka relied

on a falsified profit and loss statement to support this claim. Id. This payment was also

concealed on Starkey’s payroll report. Id. ¶ 52.

           43.   In 2012, Nelson used Starkey funds to purchase a condominium for himself

and his paramour, who was also a Starkey employee. Id. ¶ 53. Starkey paid $201,887.59 for

a condo at Smetana Drive in Minnetonka, Minnesota. Id. ¶ 54. The residence was used

exclusively for Nelson’s private, non-business related use. Id. ¶ 55.

           44.   In 2014, Nelson stole $225,000 from Starkey by lying to Starkey’s controller

by telling him the check was for an “insurance expense.” Id. ¶ 57. However, Nelson used

the $225,000 payment to refill his investment account after he had paid approximately

$716,000 for a house in Prior Lake, Minnesota. Id. Nelson concealed this theft by creating

a false “promissory note” that disguised the payment as a loan from Starkey, but Nelson

never documented the loan in Starkey’s loan register and never made a payment on the loan.

Id. ¶ 58.

           45.   Around April 8, 2014, Nelson issued a check for $200,000 to Ruzicka. Id.

¶ 59. Nelson told Starkey’s controller that the check was for “officers insurance” for


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Ruzicka, but Ruzicka used the money to pay his personal income taxes. Id. Nelson and

Ruzicka concealed the payment by failing to record it as compensation, so it was not

included on Starkey’s payroll reports. Id. ¶ 60.

           46.     On about August 30, 2010, Ruzicka caused Starkey to purchase a 2011 Jaguar

for approximately $119,188.77 for his personal use. Starkey paid the fees, insurance, and

costs for the Jaguar from 2010 to 2015. Id. ¶ 62. On about July 1, 2015, Ruzicka transferred

ownership of the car from Starkey to himself. Id. ¶ 63. When he transferred the vehicle to

himself, the value of the Jaguar was approximately $44,075.

    III.         RICO Defendants Engaged in Mail and Wire Fraud that was Indictable
                 Under 18 U.S.C. §§ 1341 and 1343.

           47.     Each of the RICO defendants engaged in a conspiracy to commit mail and

wire fraud. On September 21, 2016, a federal grand jury indicted defendants Ruzicka,

Nelson, Taylor, and Miller of engaging in a conspiracy to commit mail and wire fraud in

violation of 18 U.S.C. § 1349. See Indictment ¶ 18 United States v. Ruzicka, 16-cr-00246-

JRT-SER (D. Minn. Sept. 21, 2016). The grand jury also indicted these defendants for

specific counts of mail and wire fraud, in violation of 18 U.S.C. § 1341 and 18 U.S.C.

§ 1343. Id. ¶¶ 65-68. To support these allegations, federal prosecutors described in detail

the RICO defendants’ scheme to defraud Starkey and listed specific instances of their use

of the mail and wire communications to facilitate their scheme. Id. ¶¶ 66, 68. Defendants

committed these fraudulent acts on or about the specific dates set forth in the Indictment at

paragraphs 66 and 68.




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           48.     Ruzicka, Nelson, Taylor, and Miller were each indicted for several counts of

mail and wire fraud under 18 U.S.C. §§ 1341 and 1343 for specific instances of placing

items in the U.S. Mails and transmitting information by means of wire to carry out

fraudulent activity. Id. ¶¶ 66, 68. Their conduct was therefore indictable under those

statutes. At Ruzicka’s criminal trial, Longtain also admitted to helping Ruzicka and Nelson

to steal money from Starkey through the restricted stock sale. At the trial, he stated, “I did

it. I am guilty.”3 Therefore, his conduct is also indictable under 18 U.S.C. §§ 1341, 1343.

    IV.          RICO Defendants Stole Employee Benefit Plan Assets and Therefore
                 Engaged in Conduct Indictable Under 18 U.S.C. § 664.


           49.     The Starkey ESOP is an employee benefit plan subject to Title I of ERISA

because, according to the express terms of its founding documents, it is a plan maintained

by Starkey for the purpose of providing retirement income to Starkey employees.

           50.     The ESOP’s assets are shares of ownership interest in Starkey. Because

Starkey is incorporated as a private entity owned in part by the ESOP, Starkey’s assets and

funds belong, in part, to the ESOP. On December 31, 2013, Austin held 93.6% of Starkey’s

outstanding shares and the ESOP held the remaining 6.4%.

           51.     By stealing Starkey’s funds as described in greater detail above, each RICO

defendant stole the ESOP’s assets. Specifically:




3
  See Dee DePass, Former Starkey Executive Jeff Longtain Said He Took Phony
Commissions,       Star     Tribune     (Jan.     26,      2018),       available    at
http://www.startribune.com/former-starkey-executive-jeff-longtain-said-he-took-phony-
commissions/471358944/ (last accessed May 23, 2019).

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            a.   Ruzicka, Nelson, and Longtain diluted the value of the ESOP when they

issued themselves 51% of the restricted stock in NHC and awarded only 49% of ownership

to Starkey, taking value out of Starkey without providing appropriate work in return, given

the sham status of NHC.

            b.   Ruzicka, Nelson, and Longtain stole $15,000,000 from Starkey and the

ESOP when they caused Starkey to pay them in exchange for terminating their restricted

stock options in NHC.

            c.   Ruzicka and Taylor stole $7,650,000 from Starkey and the ESOP by causing

it to pay for their false consulting fees.

            d.   Nelson stole $201,887.59 from Starkey and the ESOP to pay for his personal

condo in Minnetonka, Minnesota.

            e.   Nelson stole $225,000 from Starkey and the ESOP to refill his investment

account after having bought a new home in Prior Lake, Minnesota.

            f.   Ruzicka stole $200,000 from Starkey and the ESOP to pay for his personal

income taxes.

            g.   Ruzicka stole $390,000 from Starkey and the ESOP in 2015 in the form of a

fraudulent bonus.

            h.   Ruzuicka stole at least $119,188.77 from Starkey and the ESOP to pay for a

Jaguar vehicle for his personal use. He also stole money to pay for its auto insurance.

            i.   Miller stole $88,250 annually from Starkey and the ESOP from 2006 to 2015

in the form of fraudulent annual bonuses.

           j.    Ruzicka, Miller and Longtain used the award of life insurance policies and


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bonuses stolen from Starkey and the ESOP from 2006 to 2015 for employees who helped

perpetrate the fraud.

           52.     Because the RICO defendants stole money from the ESOP for their own

personal use, their conduct is indictable under 18 U.S.C. § 664, which prohibits theft or

embezzlement from employee benefit plans. Although these defendants were not actually

indicted for this crime, a grand jury did indict each of these defendants, except Longtain,

for other crimes that arose from the same underlying conduct. Each of those defendants are

therefore indictable for 18 U.S.C. § 664. At Ruzicka’s criminal trial, Longtain also admitted

to helping Ruzicka and Nelson to steal money from Starkey through the restricted stock sale

and theft of $143,000 in fake commissions and fees. At the trial, he stated, “I did it. I am

guilty.”4 Therefore, his conduct is also indictable under 18 U.S.C. § 664.

      V.         RICO Defendants were Employed by or Affiliated with Starkey and Engaged
                 in a Pattern of Racketeering Activity.

           53.     When each of the RICO defendants engaged in mail fraud, wire fraud, or

embezzlement of employee benefit plan assets, they were associated with Starkey, which is

a legal entity incorporated to manufacture and sell hearing aids. The mail fraud, wire fraud,

and embezzlement of employee benefit plan assets, described above, constitute racketeering

activity under RICO because the conduct was indictable under 18 U.S.C. §§ 664, 1341, and

1343.

           54.     For the purposes of Plaintiffs’ RICO claims, Starkey is the RICO enterprise

and is an actual legal entity incorporated under the laws of Minnesota.


4
    See id.

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           55.   Ruzicka was employed by Starkey from approximately 1979 to September

2015 when Starkey terminated his employment. From 1998 to 2015, Ruzicka served as

President of Starkey. As described in paragraphs 28-46, Ruzicka engaged in a pattern of

mail and wire fraud with Starkey from 2006 to 2015. For example, Ruzicka used the U.S.

Mails to carry out the fraud on at least six specific occasions between June 26, 2013 and

July 1, 2015. Id. ¶ 66. He used wire communications to carry out the fraud on at least sixteen

specific occasions between October 7, 2011 and July 7, 2015. Id. ¶ 68. These actions

constituted a pattern of stealing Starkey ESOP assets because, in each transaction, he was

transferring money or property from Starkey to himself or other RICO defendants directly

or through his sham consulting firms.

           56.   Nelson was employed by Starkey from approximately 1997 to September

2015, when Starkey terminated his employment. During the course of the fraud, from at

least 2006 to 2015, Nelson served as Starkey’s CFO. As described in paragraphs 28-46,

Nelson engaged in a pattern of mail and wire fraud with Starkey from 2006 to 2015. For

example, Nelson used the U.S. Mails to carry out the fraud on at least two specific occasions

between June 26, 2013 and July 11, 2013. Id. ¶ 66. He used wire communications to carry

out the fraud on at least two other occasions on or about August 8, 2013. Id. ¶ 68. In addition

to these specific transactions, Nelson made other transactions using mail and wire

communications in 2013 by causing Starkey to pay $8,200,000 to himself, Ruzicka, and

Longtain. See id. ¶ 40. These actions constituted a pattern of stealing Starkey ESOP assets

because, in each transaction, he was transferring money or property from Starkey to himself

or other RICO defendants directly or through their sham consulting firms.


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           57.   Miller was employed by Starkey from approximately 1987 to September

2015, when Starkey terminated his employment. During the course of the fraud, from at

least 2006 to 2015, Miller served as a senior vice president of human resources at Starkey.

As described in paragraphs 28-46, Miller engaged in a pattern of wire fraud with Starkey

from 2006 to 2015. For example, he used wire communications to carry out the fraud on at

least three separate occasions between December 14, 2012 and July 25, 2014. Id. ¶ 68. These

actions constituted a pattern of stealing Starkey ESOP assets because, in each transaction,

he was transferring money or property from Starkey to himself or other RICO defendants

directly or through their sham consulting firms.

           58.   Taylor was associated with Starkey during the course of the fraud, from at

least 2006 to 2015, because he participated in the conduct of Starkey’s affairs by selling

hearing aid components to Starkey. Taylor served as President of a hearing aid component

manufacturer, Sonion U.S. In that capacity, he sold hearing aid components to Starkey.

Taylor also associated himself with Starkey, as described in paragraphs 28-46, by engaging

in a pattern of mail and wire fraud with Starkey from 2006 to 2015. These actions

constituted a pattern of stealing Starkey ESOP assets. For example, he used the U.S. Mails

to carry out the fraud on at least three separate occasions between February 8, 2014 and

February 3, 2015. Id. ¶ 66. He used wire communications to carry out the fraud on at least

ten separate occasions between February 15, 2012 and July 7, 2015. Id. ¶ 68. These actions

constituted a pattern of stealing Starkey ESOP assets because, in each transaction, he was

transferring money or property from Starkey to himself or other RICO defendants directly

or through their sham consulting firms.


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           59.     Longtain was President of NHC, a wholly owned subsidiary of Starkey,

during the course of the fraud, from at least 2006 to 2015. NHC acquired and operated

hearing-aid retail stores and as President, Longtain was associated with Starkey because he

operated a wholly owned Starkey subsidiary that sold Starkey products in retail stores. He

also associated with Starkey by engaging in a pattern of racketeering conduct with Starkey

from 2006 to 2015. Specifically, Longtain conspired with Nelson and Ruzicka to accept a

series of payments from Starkey in 2013 that totaled approximately $8,200,000. Id. ¶ 40.

He used wire communications to carry out the fraud and, by conspiring with Nelson and

Ruzicka to make these payments, Longtain engaged in a pattern of activity that stole ESOP

assets. He made these payments over the course of several months from June through

August 2013, and in December 2013, he transmitted approximately $7,000,000 to the IRS

from Starkey to cover the income taxes he, Ruzicka, and Nelson owed on the money they

had stolen from Starkey. Id. ¶ 40

    VI.          RICO Defendants’ Racketeering Activity Stole ESOP Assets, Which Directly
                 Harmed ESOP Participants.
           60.     By stealing more than $30,000,000 from Starkey, the RICO defendants stole

assets that rightfully belong, in part, to the ESOP. Starkey is taxed as a Subchapter S

corporation under federal and state income tax laws, so in lieu of corporate income taxes,

the stockholders must separately account for Starkey’s income, deductions, losses, and

credits. See ESOP 2010 Form 5500 at 27. Therefore, the ESOP owns a share of Starkey’s

assets. Additionally, because Starkey made annual stock contributions to the ESOP based

on Starkey’s profits, those annual contributions were improperly diminished and the stock

was undervalued because of RICO Defendants’ fraud. By stealing over $30,000,000 from

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Starkey, the RICO defendants stole from the ESOP, harming each ESOP participant and

depriving them of those stolen assets.

           61.     Although the government has criminally prosecuted RICO defendants (with

the exception of Longtain, who cooperated with the government) ESOP participants have

not recovered any portion of the assets stolen by the RICO defendants.

    VII.         Fiduciary Defendants Satisfy ERISA’s Definition of Fiduciary and Breached
                 Duties of Prudence and Loyalty to the Starkey ESOP.
           62.     Each Fiduciary Defendant meets ERISA’s definition of fiduciary because

they have all served as a plan trustee or administrator or they exercised significant control

over the ESOP.

           63.     Austin was an ESOP trustee since its formation until late 2017 and, therefore,

he is a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the authority to exercise

control over the ESOP. He was acting as a fiduciary and made a decision with respect to the

administration of the ESOP when he failed to bring a shareholder derivative action to

recover the funds stolen by Ruzicka, Nelson, and Miller after he learned of their fraud in

2015, and breached his fiduciary duties to the ESOP by failing to exert appropriate oversight

over the operation of Starkey and the ESOP. Austin had a fiduciary duty to make sure that

the ESOP’s assets were protected by overseeing operations of the company for which he is

the sole director, and to bringing in expertise in accounting, finance, legal, and the like.

           64.     Ruzicka was an ESOP trustee from its formation until his termination in 2015.

During that time period, he was a fiduciary under 29 U.S.C. § 1102(a)(1) because he has

had the authority to exercise control over the ESOP. He was acting as a fiduciary and made

a decision with respect to the administration of the ESOP when he failed to bring a

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shareholder derivative action between 2006 and 2015 to recover the funds stolen by himself,

Nelson, and Miller. He also acted in his capacity as a fiduciary when, while overseeing the

ESOP, he failed to investigate or make any attempt to recoup the losses to the ESOP that

resulted from his illegal activity. By ignoring the ESOP’s losses so that he could reap the

benefits of his embezzlement scheme, Ruzicka breached his duty of loyalty to the ESOP.

           65.   Nelson was an ESOP administrator from at least 2011 to 2013. During that

time period, he was a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the

authority to administer the ESOP. Specifically, he had authority to direct the activities of

the trust by, for example, paying out benefits to beneficiaries and maintaining records. See

Defendant Jerome Ruzicka’s Motion for a New Trial as a Result of Prosecutorial

Misconduct, Ex. 2 at 59, United States v. Ruzicka, 16-cr-00246-JRT-SER (D. Minn. Apr.

12, 2018), ECF No. 438-2. He was acting as a fiduciary and made a decision with respect

to the administration of the ESOP when he failed to bring a shareholder derivative action

between 2011 and 2013 to recover the funds stolen by himself, Ruzicka, and Miller. By

failing to investigate or make any attempt to recoup the losses to the ESOP that resulted

from his illegal activity, Nelson made a decision with respect to the administration of the

ESOP. He ignored the ESOP’s losses so he could continue to reap the benefits of his

embezzlement scheme, breaching his duty of loyalty to the ESOP.

           66.   Miller was an ESOP administrator from at least 2010 to 2014. During that

time period, he was a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the

authority to administer the ESOP. Specifically, he had authority to direct the activities of

the trust by, for example, paying out benefits to beneficiaries and maintaining records. See


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id. He was acting as a fiduciary and made a decision with respect to the administration of

the ESOP when he failed to bring a shareholder derivative action between 2010 and 2014

to recover the funds stolen by himself, Ruzicka, and Nelson. By failing to investigate or

make any attempt to recoup the losses to the ESOP that resulted from his illegal activity,

Miller made a decision with respect to the administration of the ESOP. He ignored the

ESOP’s losses so he could continue to reap the benefits of his embezzlement scheme,

breaching his duty of loyalty to the ESOP.

           67.   Sawalich was an ESOP trustee from his appointment by Austin in 2016 until

late 2017 and, therefore, is a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had the

authority to exercise control over the ESOP. He was acting as a fiduciary and made a

decision with respect to the administration of the ESOP when he failed to bring a

shareholder derivative action to recover the funds stolen by Ruzicka, Nelson, and Miller

after he learned of their fraud and was appointed as a trustee in 2016. Sawalich, as a

successor trustee, is liable for failure to ameliorate the fiduciary breaches of the trustees that

he replaced. He was acting in his capacity as a fiduciary when he failed to make reasonable

efforts to cure the breaches of past and co-fiduciaries.

           68.   Ruzicka, Miller, and Nelson each had knowledge of each other’s breaches of

fiduciary duties and made no reasonable efforts to cure those breaches. In fact, they

conspired with each other to conceal their embezzlement of Starkey and ESOP assets and

their subsequent failure to recover those funds. They were acting in their capacity as

fiduciaries when they concealed their fiduciary breaches and failed to make reasonable

efforts to cure those breaches.


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    VIII. Fiduciary Defendants had an Obligation to Bring a Shareholder Derivative
          Action Against Ruzicka, Miller, and Nelson and otherwise Breached their
          Fiduciary Duties to the ESOP.
           69.   By engaging in a pattern of fraud that stole money from Starkey, Ruzicka,

Nelson, and Miller breached their corporate law duties to Starkey and its minority

shareholder, the ESOP.

           70.   Austin told federal prosecutors that he discovered the fraud in July 2015.

Ruzicka informed Austin that he was considering working with other current Starkey

employees to form a new company called My Hearing Direct that would compete with

Starkey. Ruzicka believed that this was consistent with the terms of his employment

contract; Austin disagreed and instigated an internal investigation with counsel to “shut

down the venture and prevent his longtime president from leaving with valued employees.”

At that point, Austin, along with other Fiduciary Defendants, conducted an “aggressive

internal investigation,” including hiring third-party WayPoint, Inc., that ultimately resulted

in the firing of Ruzicka, Nelson, and Miller.

           71.   While the internal investigation was originally about the non-compete

requirements, “the scope of the probe quickly widened.”5 It was during this investigation

that Austin and Sawalich discovered the $15 million dollar NHC deal, and Ruzicka

confessed stealing “About $10 million.”6




5
  See Jeffrey Meitrodt and Dee DePass, Starkey Probe That Resulted in a $20 Million
Embezzlement Case Started With Small Betrayal, Star Tribune (Oct. 3, 2016), available at
http://www.startribune.com/starkey-probe-that-resulted-in-a-20-million-embezzlement-
case-started-with-small-betrayal/395522871/ (last accessed May 23, 2019).
6
  See id.

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           72.   The Fiduciary Defendants had a duty under ERISA to bring a derivative action

on behalf of the ESOP against Ruzicka, Nelson, and Miller for breaching their duties as

corporate officers. This duty began in 2006, when Ruzicka, Miller and Nelson began

conspiring, and when Austin heard rumors about the Northland improprieties. This duty

continues to the present, or at least until Sawalich and Austin were replaced as fiduciaries

in late 2017. When the ESOP fiduciaries became aware of the RICO defendants’ breaches,

they were obligated to bring a derivative action on behalf of the ESOP. A reasonably prudent

fiduciary would have brought an action against Ruzicka, Nelson, and Miller to recover the

funds stolen from Starkey and the ESOP, and would have prevailed.

           73.   Ruzicka, Nelson, and Miller each knew about their theft of Starkey assets

from 2006 to 2015 and during the time they served as fiduciaries. During this time period,

they breached their duties under ERISA by failing to bring a shareholder derivative action

against themselves, Taylor, and Longtain. They also intentionally concealed this breach by

keeping their scheme a secret from ESOP participants.

           74.   Austin and Sawalich ostensibly did not discover the RICO defendants’

breaches of corporate law duties until at least July 2015. However, Austin admitted to public

sources that he was aware there might be improprieties as early as 2006. In addition, as the

sole director of Starkey, Austin was obligated to engage in appropriate oversight that would

have discovered such improprieties. When Austin discovered those breaches but failed to

bring a derivative action against RICO defendants, he breached his own fiduciary duties

under ERISA. Sawalich similarly breached his duties under ERISA after he was appointed

as a trustee and, despite having knowledge of Ruzicka, Miller, and Nelson’s breaches of


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fiduciary duty, failed to bring a derivative action against RICO defendants to recover ESOP

funds. Sawalich’s failure to correct prior breaches consititues a separate breach of fiduciary

responsibility by Sawalich as a successor fiduciary.

           75.   When Starkey began the internal investigation in July 2015 that ultimately

resulted in firings in September 2015 and federal indictments in September 2016, it was

under no obligation to make those investigations public or cooperate with federal

prosecutors, and the investigation was done primarily to protect Austin personally and

Starkey. However, a Starkey spokesman said that Austin felt compelled to act: “Anyone

who thinks the company and Mr. Austin should have ‘kept quiet’ when they uncovered

evidence that more than $30 million was stolen obviously does not know all of the facts and

does not know Mr. Austin,” said Jon Austin, who is not related to the owner. “If crimes of

this nature have been committed, those responsible should be prosecuted, not rewarded with

a financial settlement that allows them to go away quietly.”

           76.   As part of the internal investigation, Austin and Sawalich hired WayPoint,

Inc., a “go-to firm in the Twin Cities for companies that suspect employee misconduct,”

which charges “’well over’ $100 per hour for its services,” and at any point, Starkey had

“six to eight investigators at Starkey’s headquarters in Eden Prairie, interviewing employees

and poring over thousands of internal documents.”

           77.   However, at no point has this diligence or investigatory prowess extended to

protecting the ESOP. Nearly 2.5 years after federal indictments made the fraud public and

nearly 3.5 years after commencing internal investigations, not to mention 13 years after the

fraudulent schemes started and Austin himself was aware of potential concerns, no action


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has been brought on behalf of the ESOP and no money has been restored to ESOP

shareholders. No attempt has been made to make the ESOP and its beneficiaries – Starkey

Employees – whole.

    IX.          If Fiduciary Defendants had Brought a Shareholder Derivative Action
                 Against Ruzicka, Nelson, and Miller Under Minnesota Law, They Would
                 have Been Successful and Recovered ESOP Funds for ESOP Participants.
           78.     If Fiduciary Defendants had brought a derivative action against Ruzicka,

Nelson, and Miller for breaching their duties under the Minnesota Business Corporation

Act, they would have succeeded. Each element of such an action would have been met.

First, Ruzicka, Nelson, and Miller each meet the definition of “officer” under Minn. Stat.

§ 302A.011. Second, as a result, Ruzicka, Nelson and Miller owed duties of prudence and

loyalty to Starkey under Minn. Stat. § 302A.361. Third, by charging Starkey false

consulting fees, orchestrating and carrying out the restricted stock purchase of NHC stock,

and stealing other assets from Starkey as described above, each of these defendants breached

their duties to Starkey as corporate officers.

           79.     As the president of Starkey, Ruzicka was appointed by Austin to operate and

manage Starkey and thus he qualifies as an “officer” under the MBCA, see Minn. Stat. §

301A.011, subd. 18. As Starkey’s general counsel, Susan Mussell, has stated, Ruzicka acted

“like a ‘Board’ in the sense he alone reported company activity, strategies, profitability, etc.

to Mr. Austin.” Defendant Jerome Ruzicka’s Motion for a New Trial as a Result of

Prosecutorial Misconduct, Ex. 1 at 2, United States v. Ruzicka, 16-cr-00246-JRT-SER (D.

Minn. Apr. 12, 2018), ECF No. 438-1. Ruzicka owed corporate duties to Starkey and

breached those duties by charging it false consulting fees, carrying out the restricted stock


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purchase of NHC stock, awarding himself bonuses, and purchasing the Jaguar with

company funds for his personal use. His actions were done solely for the benefit of Ruzicka

and his co-conspirators and contrary to the interests of Starkey.

           80.     As the CFO of Starkey, Nelson was an officer under the MBCA and owed

duties of prudence and loyalty to Starkey. By carrying out the restricted stock purchase of

NHC stock and using Starkey funds to pay for personal real estate, Nelson breached those

corporate duties. His actions were done for the sole benefit of Nelson and his co-

conspirators and were contrary to the interests of Starkey

           81.     As a senior vice president of human resources for Starkey, Miller was

appointed by Austin to serve in that role and thus qualifies as an Officer under the MBCA.

He breached the corporate duties he owed to Starkey by stealing annual bonuses from

Starkey solely for his own benefit, contrary to the interests of Starkey.

    X.           Fiduciary Defendants Breached their Duties as Co-Fiduciaries by Concealing
                 Fiduciary Breaches, Enabling Fiduciary Breaches Through Negligent
                 Oversight, and Failing to Cure Fiduciary Breaches.
           82.     Although Austin heard rumors of the NHC stock fraud as early as 2006, he

made no effort to investigate the fraud for the benefit of Starkey or the ESOP. In fact, despite

his status as one of the ESOP’s two trustees, Austin failed to oversee the ESOP’s operations

or even read the ESOP’s financial documents. His negligent failure to monitor the ESOP’s

operations and financial status enabled Ruzicka, Miller, and Nelson to breach their fiduciary

duties. If Austin had acted like a reasonably prudent fiduciary, by reviewing the ESOP’s

financial statements and overseeing its operation, he would have, at the very least,

investigated the large losses the ESOP and Starkey experienced as a result of the fraud


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scheme. Ruzicka, Miller, and Nelson were only able to raid Starkey and devalue the ESOP

because Austin was not overseeing the operations of the company or the ESOP, despite his

legal obligation to do so.

           83.     After Austin learned about Ruzicka, Miller, and Nelson’s fraud scheme and

their breaches of their fiduciary duties to ESOP participants, Austin had an obligation to

make reasonable efforts to cure the breach. However, he has made no attempt to recover

any of the lost funds for the benefit of the ESOP. Despite claiming that he, as a shareholder

in Starkey, was personally a victim of the fraud, Austin did not name the ESOP as a victim

as well.

           84.     Sawalich similarly failed to cure Ruzicka, Miller, and Nelson’s breaches of

fiduciary duty after he became an ESOP trustee in 2016. He also failed to make any efforts

to cure Austin’s breaches of fiduciary duties because he has taken no action to recover funds

for the ESOP.

           85.     Ruzicka, Miller, and Nelson are also each liable as co-fiduciaries for each

other’s breaches because they worked to conceal their fraud scheme from Austin and the

ESOP participants. By keeping their fraud scheme a secret, they actively concealed their

breaches of their fiduciary duty of loyalty. Ruzicka, Miller, and Nelson also failed to take

any action to cure the breaches of their co-fiduciaries because they were participating in the

scheme that caused the breaches.

    XI.          Plaintiffs’ Investigation and Further ESOP Actions after such Investigation
                 Commenced Continues Fiduciary Breaches by Fiduciary or RICO
                 Defendants.




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           86.   Plaintiffs began their investigation of this action in May 2017, when Plaintiff

Melcher sent a letter to Starkey requesting information related to her ESOP disbursements

and payments during the course of unrelated litigation against Starkey. See Melcher v.

Starkey Laboratories, Inc., 0:17-cv-00420-DSD-ECW (D. Minn.) (settlement final Nov. 29,

2018). As part of that investigation, Plaintiff Melcher sent a books and records request

under Minnesota law, see Minn. Stat. § 302A.461, demanding certain information related

to Starkey on August 9, 2018. During the fall of 2018, Starkey and Horizon Bank

deliberately misinterpreted the requests and the parties to which they were directed, failed

to answer inquiries, and did not comply with the properly served request. Finally, in January

2019, Starkey produced documents pursuant to the request and an agreement between the

parties.

           87.   In February 2019, counsel for Starkey, Plaintiffs, and Horizon Bank met and

discussed Plaintiffs’ concerns that led to the books and records request: a determination of

management competence and evaluation of the conduct of corporate officers, including the

breach of fiduciary duties that form the basis for the instant complaint. These inquiries are

obviously proper purposes under the books and records statute. See Kococinski on behalf

of Medtronic, Inc. v. Collins, No. CV 12-0633 (JRT/JJG), 2013 WL 12224399, at *2 (D.

Minn. July 11, 2013). Counsel for Plaintiffs discussed the possibility of bringing a lawsuit

on behalf of ESOP participants. In order to help with the determination whether to bring

such an action, Counsel for Plaintiffs asked for additional documents and those requests

were all denied.




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           88.   Unbeknownst to Plaintiffs and without consulting ESOP participants or the

class, Horizon Bank entered into a Settlement Agreement and Release (the “Agreement”)

with Starkey, the ESOP, and Austin, effective May 7, 2019. This agreement purports to

release all ESOP-related claims against Starkey, Austin, and all of “its past and current

directors, subsidiaries, affiliates, shareholders, attorneys, agents, predecessors, successors,

assigns, and insurers.”

           89.   In the Agreement, Horizon Bank purports to release claims that Horizon had

against “Starkey and Austin” on behalf of “the ESOP and all current and former participants

and beneficiaries of the ESOP”.

           90.   As an initial matter, any payment made under this Agreement was made by

Starkey, and not any of the Fiduciary or RICO Defendants. As a result, any payment made

pursuant to the Agreement neither absolves the Fiduciary Defendants or the RICO

Defendants of liability nor operates as an offset under the collateral source rule. Starkey is

not a defendant under 29 U.S.C. § 1109, as the company has never been a fiduciary of the

ESOP.

           91.   In addition, no portion of the Agreement can release claims of individual

beneficiaries, the plaintiffs and the putative class asserted in the current litigation or claims

against prior trustees who were not parties to the Agreement, were not consulted, and did

not sign or otherwise execute releases. Also, no payment has been made to the ESOP or its

participants pursuant to the Agreement, or provision made for prior ESOP participants such

as the Plaintiffs.




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                             CLASS-RELATED ALLEGATIONS

           92.   Plaintiffs bring this action on behalf of themselves and all others similarly

situated under Federal Rule of Civil Procedure 23(a), as well as 23(b)(3), as representatives

of a class (the “Class”) defined as:

           All persons who are or were participants in, or beneficiaries of, the Starkey
           Laboratories, Inc. Employee Stock Ownership Plan at any point during the class
           period. The class begins on January 1, 2006 and continues through December 31,
           2017.

           93.   Plaintiffs reserve the right to redefine the Class prior to certification. For

purposes of this class definition and lawsuit, an ESOP “participant” is defined as any person

who was defined as a “participant” by Section 2.1.29 of the Starkey Laboratories, Inc.

Employee Stock Ownership Plan at any time between January 1, 2006 and December 31,

2017. This action is brought, and may properly be maintained, as a class action pursuant to

Federal Rule of Civil Procedure 23. This action satisfies the numerosity, typicality,

adequacy, predominance, and superiority requirements of those provisions. The members

of the Class are readily ascertainable from records maintained by Defendants Starkey,

Austin, and Sawalich.

           94.   Numerosity. Members of the Class are so numerous and geographically

dispersed that joinder of all members is impracticable. At the end of 2016, the ESOP had

1,739 active participants and 2,024 participants with account balances.

           95.   Typicality. Plaintiffs’ claims are typical of the claims of the members of the

Class. Plaintiffs and Class members are entitled to shares of Starkey stock through the

ESOP. Plaintiffs and all members of the Class were damaged by the same wrongful conduct



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by Defendants—i.e., as a result of Defendants’ breaches of fiduciary duties and RICO

violations, the ESOP’s funds and assets were diminished, stolen and undervalued. The

Plaintiffs and all members of the Class are entitled to the same relief—i.e., restoring those

stolen funds to the ESOP.

           96.   Adequacy. Plaintiffs will fairly and adequately protect and represent the

interests of the Class. The interests of the Plaintiffs are coincident with, and not antagonistic

to, those of the other members of the Class. Plaintiffs have retained counsel that are

competent and experienced in the prosecution of complex class action litigation, including

ERISA litigation, and have particular experience with class action litigation involving

actions for the benefit of shareholders. Plaintiffs’ counsel will undertake to vigorously

protect the interests of the Class.

           97.   Commonality. Questions of law and fact common to the members of the

Class predominate over questions that may affect only individual Class members. The

claims of all Class members originate from the same fraud, misconduct, breaches of ERISA

fiduciary duties, and violations of RICO perpetrated by Defendants.

           98.   Questions of law and fact common to Plaintiffs and the Class include:

           a.    Whether Defendants’ conduct violated ERISA;

           b.    Whether Defendants acted as fiduciaries under ERISA;

           c.    Whether Defendants acted as ERISA fiduciaries when they failed to bring a

shareholder derivative action against corporate officers;




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           d.     Whether Defendants breached their fiduciary duties to Class members by

failing to bring a derivative shareholder action against corporate officers who breached

their corporate law duties;

           e.     Whether Defendants’ breaches of fiduciary duty resulted in a loss to the

ESOP;

           f.     Whether Defendants who are ERISA fiduciaries would have won a

derivative shareholder lawsuit had they brought one against corporate officers to recover

stolen funds;

           g.     Whether Defendants’ conduct violated RICO;

           h.     Whether Defendants’ conduct was indictable under 18 U.S.C. §§ 664,

1341, or 1343.

           99.    Under Rule 23(b)(3), class action treatment is a superior method for the fair

and efficient adjudication of the controversy. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

expense that numerous individual actions would engender. The benefits of proceeding

through the class mechanism, including providing injured persons a method for obtaining

redress on claims that could not practicably be pursued individually, substantially outweighs

any possible difficulties in the management of this class action.

           100.   With respect to Rule 23(b)(1)(B), the prosecution of separate actions by each

plaintiff in the Class would create a risk of adjudications with respect to individual members

of the Class that would, as a practical matter, be dispositive of the interests of the other


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members not parties to the actions, or substantially impair or impede their ability to protect

their interests.

           101.   Class action status is also warranted under Rule 23(b)(1)(A) because

prosecution of separate actions by the members of the Class would create a risk of

establishing incompatible standards of conduct for Defendants.

           102.   Plaintiffs know of no special difficulty to be encountered in the maintenance

of this action that would preclude its maintenance as a class action.

                                            COUNT I

   ERISA § 502(a)(2) & (a)(3), 29 U.S.C. § 1132(a)(2), CLAIM FOR BREACH OF
         FIDUCIARY DUTIES ESTABLISHED BY ERISA §§ 404 & 409,
                                29 U.S.C. §§ 1104 & 1109
 (on behalf of Plaintiffs and the Class against Fiduciary Defendants Austin, Ruzicka,
                              Miller, Nelson, and Sawalich)

           103. The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           104. Count I arises under ERISA § 502(a)(2) & (a)(3), 29 U.S.C. § 1109 breaches

of fiduciary duties as required by ERISA § 404, 29 U.S.C. § 1104 and is asserted against

Fiduciary Defendants Austin, Sawalich, Ruzicka, Nelson, and Miller because they are

liable for breaches of fiduciary duty under ERISA § 409, 29 U.S.C. § 1109.

           105.   Under ERISA § 404, trustees of retirement plans must fulfill their

responsibilities “with the care, skill, prudence, and diligence under the circumstances then

prevailing that a prudent man acting in a like capacity and familiar with such matters would

use in the conduct of an enterprise of a like character and with like aims.” 29 U.S.C. §

1104(a)(1)(B) (codifying ERISA § 404).


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           106.   A reasonably prudent fiduciary would have brought a derivative action

against Ruzicka, Nelson, and Miller to recover the stolen assets for the ESOP and would

have prevailed. By failing to bring derivative shareholder actions against Ruzicka, Nelson,

and Miller, Defendants Austin, Sawalich, Ruzicka, Miller, and Nelson breached their duties

of prudence and loyalty to the ESOP. See LaRue v. DeWolff, Boberg & Assocs., Inc., 552

U.S. 248, 256 (2008). The ESOP suffered losses as a result of the Fiduciary Defendants’

breaches of fiduciary duties in failing to bring a derivative suit, and was underfunded. For

example, the ESOP posted losses of almost nine and a half million dollars at the end of

2008, almost two million dollars at the end of 2011, and over seven million dollars at the

end of 2012. Between 2006 and 2015, Fiduciary Defendants Ruzicka, Nelson, and Miller

engaged in egregious fraudulent conduct that breached their fiduciary duties to the ESOP

and all of its participants, and as a result, the value of the ESOP assets declined. In addition,

Fiduciary Defendant Austin did not discover the fraud until 2015 because he had failed to

conduct oversight as to the activities of the company and the other fiduciaries. After he

discovered the fraud, he failed to engage in any conduct to make the ESOP whole. Instead,

in 2015 the ESOP lost nearly $15,000,000 in assets that resulted in losses to the ESOP and

to plan participants, while Austin simultaneously stated publicly that “2015 was the

company’s best year yet, producing $800 million in sales.” Fiduciary Defendant Sawalich

continued the lack of oversight in 2016 through the ESOP’s discontinuation. The ESOP

also lost nearly $2 per share in stock value between 2014 and 2015, and lost tens of millions

of dollars between 2008 and 2015 that a reasonably prudent fiduciary would have acted to

protect and recover.


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           107.   Over the course of at least 2008 until the ESOP was frozen at the end of 2017,

the ESOP lost almost $37 million dollars and had a net loss of almost $4 million dollars

over the same period, even accounting for all profits and dividends, despite Starkey itself

having its “most profitable year ever” during that time, earning estimated annual revenues

of up to $850 million. As a result, the ESOP was underfunded.

           108.   ERISA § 409(a) provides that an ERISA fiduciary who breaches any duty is

liable to the plan (i) for “any losses to the plan resulting from each such breach,” (ii) for

“any profits . . . made through use of assets of the plan by the fiduciary,” and (iii) for “such

other equitable or remedial relief as the court may deem appropriate.” 29 U.S.C. § 1109(a).

Under basic principles of trust law, one remedy for the breaches of fiduciary duty outlined

above is to restore plan participants to the position in which they would have occupied but

for the breach of trust. An appropriate measure for doing so is the difference between what

was paid for the stock and what would have been paid but for the breaches of fiduciary

duties. Pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), declines in assets or stock

value of the ESOP are recoverable and damages may be assessed in the amount of the

stock’s depreciation, in addition to other forms of recoverable damages. Plaintiffs also seek

“to obtain other appropriate equitable relief (i) to redress such violations or (ii) to enforce

any provisions of this subchapter or the terms of the plan” pursuant to ERISA § 502(a)(3),

29 U.S.C. § 1132(a)(3).

           109.   A trustee that fails to meet ERISA § 404’s prudent person standard may be

held personally liable for any losses to the plan that result from the breach of duty. 29 U.S.C.

§ 1109(a). Here, Fiduciary Defendants Austin, Sawalich, Ruzicka, Miller, and Nelson are


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each personally liable to repay the ESOP for the losses it suffered due to their breach of

their fiduciary duties.

           110.   The ESOP is also entitled to injunctive relief. ERISA imposes a high standard

on fiduciaries, and serious misconduct that violates statutory obligations is sufficient

grounds for a permanent injunction, as well as other injunctive relief fashioned by the Court.

Here, given the serious misconduct alleged, Fiduciary Defendants Austin, Sawalich,

Ruzicka, Miller, and Nelson should be permanently enjoined from acting as ERISA

fiduciaries or from providing direct or indirect services to an ERISA-covered plan.

                                            COUNT II
   ERISA § 502(a)(2) & (a)(3), 29 U.S.C. § 1132(a)(2), § 404, 29 U.S.C. § 1109, FOR
    VIOLATIONS OF FIDUCIARY DUTIES ESTABLISHED BY ERISA § 404
 (on behalf of Plaintiffs and the Class against Fiduciary Defendants Austin, Ruzicka,
                              Miller, Nelson, and Sawalich)
           111.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           112.   Count II arises under ERISA § 502(a)(2) & (a)(3), 29 U.S.C. § 1132(a)(2), §

404, for violations of fiduciary duties established by ERISA § 404, 29 U.S.C. § 1104, and

is asserted against Fiduciary Defendants Austin, Sawalich, Ruzicka, Nelson, and

Miller.They are liable for breaches of fiduciary duty under ERISA § 409, 29 U.S.C. § 1109.

           113.   Each of the Fiduciary Defendants were ESOP trustees or administrators that

owed the ESOP fiduciary duties and were required to act prudently and solely in the interest

of all of the participants and beneficiaries of the ESOP, including Plaintiffs and the Class.

Austin was at all relevant times a trustee of the ESOP since its formation and a fiduciary

under ERISA with “discretionary responsibility in the administration” of the ESOP pursuant


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to 29 U.S.C. § 1002 (21)(A) and 29 U.S.C. § 1102(a)(1). Ruzicka was a trustee of the ESOP

and a fiduciary under ERISA with “discretionary responsibility in the administration” of the

ESOP from the formation of the ESOP until his termination in 2015. Nelson was an ESOP

administrator from at least 2011 to 2013 and a fiduciary under 29 U.S.C. § 1102(a)(1)

because he has had the authority to administer the ESOP. Miller was an ESOP administrator

from at least 2010 to 2014 and a fiduciary under 29 U.S.C. § 1102(a)(1) because he has had

the authority to administer the ESOP. Sawalich has been an ESOP trustee since he was

appointed by Austin in 2016 and, therefore, he is a fiduciary under 29 U.S.C. § 1102(a)(1)

because he has had the authority to exercise control over the ESOP.

           114.   ERISA § 404’s prudent person standard is an objective standard that focuses

on the fiduciaries’ conduct preceding the decisions at issue. As a result, fiduciaries breach

their duties under § 404 when they act, at the time of the decision-making, without

investigating all decisions that will affect the ESOP or fail to act in the best interests of the

beneficiaries.

           115.   As trustees or administrators of the ESOP throughout the Class Period, the

Fiduciary Defendants had a duty to oversee and follow the ESOP plan terms.

           116.   As noted above in more detail, from at least 2006 to September 2015, Ruzicka

conspired with Nelson, Miller, Longtain, and Taylor to defraud and steal money and

property from Starkey. Ruzicka did so by forming a sham company, Archer Consulting,

with Taylor and using that company as a vehicle to bill Starkey for services it did not

actually provide. Additionally, Ruzicka and Nelson awarded themselves and Longtain

restricted stock in Starkey’s subsidiary, NHC. In doing so, they issued themselves 51% of


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the ownership of NHC and Starkey only 49%, diluting the value of the company by

siphoning off share value that would have been used in valuing Starkey for purposes of

determining the contribution to the ESOP. As a result, the ESOP was underfunded. Later,

after having issued themselves restricted stock in NHC, Ruzicka and Nelson then paid

themselves and Longtain $15,000,000 in exchange from Starkey for terminating the

restricted stock grants. Ruzicka, Nelson, and Miller also stole money and property from

Starkey for themselves in the form of bonuses and luxury property, including a personal

Minnetonka condo and a Jaguar car.

           117.   In addition, Austin mismanaged Starkey and the ESOP. Austin failed to

notice that Ruzicka had stolen over $30 million and the ESOP suffered as a result. And

despite any voluntary contributions to the plan, because of the theft the ESOP has been

underfunded. In addition, pursuant to the terms of the ESOP Plan Documents and his role

at Starkey, Austin had the authority to appoint, monitor and remove the ESOP Trustee(s)

and Plan Administrator(s).

           118.   Pursuant to this authority, Austin had an obligation to monitor the conduct of

Ruzicka, Nelson, Taylor, and Miller, ESOP Trustees and Administrators, and to take

appropriate action if and when they engaged in misconduct or otherwise violated their

fiduciary duties or failed to adequately protect the interests of the ESOP participants and

beneficiaries, including the Plaintiffs and the Class.

           119.   Under the circumstances described above, the Fiduciary Defendants failed to

act in the best interest of beneficiaries of the ESOP and violated the ESOP Plan Documents.




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           120.   No prudent and loyal fiduciary would have devalued the ESOP by siphoning

millions of dollars from Starkey, defrauded and stolen money from Starkey, or billed

Starkey for services not provided. No prudent and loyal fiduciary would have diluted the

value of the company and the ESOP by siphoning off share value that would have been used

in valuing Starkey for purposes of determining the contributions to the ESOP, or engaged

in such gross mismanagement to not notice over $30 million dollars in theft for almost a

decade. And despite any voluntary contributions to the plan, because of the theft, the ESOP

has been underfunded.

           121.   By engaging in the actions described above, the Fiduciary Defendants

breached their fiduciary duties under ERISA by failing to discharge their duties with respect

to the ESOP solely in the interest of the participants and beneficiaries 1) for the exclusive

purposes of providing benefits to participants and their beneficiaries; 2) with the care, skill,

prudence, and diligence under the circumstances then prevailing that a prudent person acting

in a like capacity and familiar with such matters would use in the conduct of an enterprise

of like character and like aims, and 3) in accordance with the documents and instruments

governing the ESOP, all in violation of ERISA § 404(a)(1)(A), (B) and (D), 29 U.S.C. §

1104(a)(1)(A), (B), and (D).

           122.   The ESOP suffered losses as a result of the Fiduciary Defendants’ breach of

their fiduciary duties in defrauding the plan and plan participants. For example, between

2014 and 2015 alone, the ESOP lost nearly $15,000,000 in assets that resulted in losses to

the ESOP and to plan participants. For example, the ESOP posted losses of almost nine and

a half million dollars at the end of 2008, almost two million dollars at the end of 2011, and


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over seven million dollars at the end of 2012.          Between 2006 and 2015, Fiduciary

Defendants Ruzicka, Nelson, and Miller engaged in egregious fraudulent conduct that

breached their fiduciary duties to the ESOP and all of its participants, while Fiduciary

Defendants Austin and Sawalich failed entirely to engage in appropriate oversight or

management. In addition, as of 2015, when Fiduciary Defendants Austin and Sawalich

discovered the fraud and their failure to conduct oversight as to the activities of the company

and the other fiduciaries, they failed to engage in any conduct to make the ESOP whole.

Instead, in 2015 the ESOP lost nearly $15,000,000 in assets that resulted in losses to the

ESOP and to plan participants, while Austin simultaneously stated publicly that “2015 was

the company’s best year yet, producing $800 million in sales.” Fiduciary Defendant

Sawalich continued the lack of oversight in 2016 through the conclusion of the ESOP. The

ESOP also lost nearly $2 per share in stock value between 2014 and 2015, and lost tens of

millions of dollars between 2008 and 2014 that a reasonably prudent fiduciary would have

acted to protect and enhance rather than looting and diminishing.

           123.   Over the course of at least 2008 until the ESOP was shuttered at the end of

2017, the ESOP lost almost $37 million dollars and had a net loss of almost $4 million

dollars over the same period, even accounting for all profits and dividends, despite Starkey

itself having its “most profitable year ever” during that time, and estimated annual revenues

of up to $850 million.

           124.   ERISA § 409(a) provides that an ERISA fiduciary who breaches any duty is

liable to the plan (i) for “any losses to the plan resulting from each such breach,” (ii) for

“any profits . . . made through use of assets of the plan by the fiduciary,” and (iii) for “such


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other equitable or remedial relief as the court may deem appropriate.” 29 U.S.C. § 1109(a).

Under basic principles of trust law, one remedy for the breaches of fiduciary duty outlined

above is to restore plan participants to the position in which they would have occupied but

for the breach of trust. An appropriate measure for doing so is the difference between what

was paid for the stock and what would have been paid but for the breaches of fiduciary

duties. 29 U.S.C. § 1109(a). Pursuant to 29 U.S.C. § 1132(a)(2), declines in assets or stock

value of the ESOP are recoverable, and damages may be assessed in the amount of the

stock’s depreciation, in addition to other forms of recoverable damages. Plaintiffs also seek

“to obtain other appropriate equitable relief (i) to redress such violations or (ii) to enforce

any provisions of this subchapter or the terms of the plan” pursuant to ERISA § 502(a)(3),

29 U.S.C. § 1132(a)(3).

           125.   A trustee that fails to meet ERISA § 404’s prudent person standard may be

held personally liable for any losses to the plan that result from the breach of duty. 29 U.S.C.

§ 1109(a). Here, Fiduciary Defendants Austin, Sawalich, Ruzicka, Miller, and Nelson are

each personally liable to repay the ESOP and the accounts of Plaintiffs and the Class for the

losses suffered due to their breach of their fiduciary duties.

           126.   The ESOP is also entitled to injunctive relief. ERISA imposes a high standard

on fiduciaries, and serious misconduct that violates statutory obligations is sufficient

grounds for a permanent injunction, as well as other injunctive relief fashioned by the Court.

Here, given the serious misconduct alleged, Fiduciary Defendants Austin, Sawalich,

Ruzicka, Miller, and Nelson should be permanently enjoined from acting as ERISA

fiduciaries or from providing direct or indirect services to an ERISA-covered plan.


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                                           COUNT III
  ERISA § 502(a)(2) & (a)(3), 29 U.S.C. § 1132(a)(2), § 404, 29 U.S.C. § 1109, FOR
  VIOLATIONS OF CO-FIDUCIARY DUTIES ESTABLISHED BY ERISA § 405,
                                 29 U.S.C. § 1105
 (on behalf of Plaintiffs and the Class against Fiduciary Defendants Austin, Ruzicka,
                              Miller, Nelson, and Sawalich)
           127.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           128.   Count III arises under ERISA § 502(a)(2) & (a)(3), 29 U.S.C. § 1132(a)(2), §

404, for violations of fiduciary duties established by ERISA § 405, 29 U.S.C. § 1105 and is

asserted against Fiduciary Defendants Austin, Sawalich, Ruzicka, Nelson, and Miller. As

fiduciaries of the ESOP, in addition to any liability for their own personal acts, Austin,

Sawalich, Ruzicka, Nelson, and Miller may be held liable for the breach of fiduciary

responsibility of another fiduciary with respect to the ESOP.

           129.   Each Fiduciary Defendant participated knowingly in, or knowingly undertook

to conceal, an act or omission of other Fiduciary Defendants, knowing such act or omission

breached his own fiduciary duties under ERISA.

           130.   Each Fiduciary Defendant failed to comply with ERISA § 404 in the

administration of his specific responsibilities which gave rise to his status as a fiduciary,

and enabled other Fiduciary Defendants to commit breaches of ERISA.

           131.   Each Fiduciary Defendant had knowledge, or should have known, of breaches

by the other Fiduciary Defendants, and did not make reasonable efforts to remedy such

breaches.




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           132.   Austin, who was at all relevant times a trustee of the ESOP with “discretionary

responsibility in the administration” of the ESOP pursuant to 29 U.S.C. § 1002 (21)(A) and

29 U.S.C. § 1102(a)(1), had an obligation to use reasonable care to prevent co-Trustees

Ruzicka and Sawalich from committing breaches of fiduciary duties, and failed to do so.

As such, each Fiduciary Defendant is liable for the breaches of fiduciary responsibilities of

the other Fiduciary Defendants, ERISA § 405(a)(1)-(3), 29 U.S.C. § 1105(a)(1)-(3), and/or

ERISA § 405(b)(1)-(3), 29 U.S.C. § 1105(b)(1)-(3).

           133.   Austin, Sawalich, Ruzicka, Miller, and Nelson are each personally liable to

repay the ESOP and the accounts of Plaintiffs and the Class for the losses suffered due to

their breach of their fiduciary duties.

                                            COUNT IV

                                          ACCOUNTING

           134.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           135.   This Court has jurisdiction of this Count IV under Section 1332 of Title 29,

USC (29 U.S.C.A, Section 1332) and the principles of pendant jurisdiction. The amount in

controversy exceeds $75,000.00, exclusive of interest and costs. Specifically, this Count is

limited to the equivalent relief sought pursuant to ERISA for the various breaches of

fiduciary duties by the defendants.

           136.   In the alternative, the Fiduciary Defendants should be Ordered to account to

Plaintiffs for any and all funds in the ESOP, the contributions made to and distributions




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made from the ESOP, and the company valuation that formed the basis of ESOP

contributions and distributions.

                                             COUNT V

   CLAIM TO PIERCE THE CORPORATE VEIL AGAINST BILL AUSTIN TO
                     HOLD STARKEY LIABLE

           137.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           138.   A court may pierce the corporate veil to hold a party liable for the acts of a

corporate entity if the entity is used for a fraudulent purpose or the party is the alter ego of

the entity. And because veil piercing is grounded in equity and intended to prevent abuse

of corporate protections, courts may pierce the corporate veil to impose liability against any

party who disregards the corporate form, regardless of whether the party holds an ownership

interest in the entity. Such veil piercing may be permitted under ERISA. Pipe Fitters

Health & Welfare Tr. v. Waldo, R., Inc., 969 F.2d 718, 720 (8th Cir. 1992).

           139.   There are eight factors to determine whether the corporate entity should be

disregarded and the veil pierced: insufficient capitalization for purposes of corporate

undertaking, failure to observe corporate formalities, nonpayment of dividends, insolvency

of debtor corporation at time of transaction in question, siphoning of funds by dominant

shareholder, nonfunctioning of other officers and directors, absence of corporate records,

and existence of corporation as merely a facade for individual dealings. Not all factors must

be present to pierce the veil, but all are discussed herein.

           140.   If the court finds several of the factors described above present, the veil should

be pierced if there is an element of injustice or fundamental unfairness in allowing the

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corporate existence to shield individuals from liability for damages incurred by those

dealing with the corporation.

           141.   Starkey appears to be sufficiently capitalized for its corporate undertaking.

           142.   Starkey has failed to observe corporate formalities. As Starkey’s general

counsel Susan Mussell has described, Starkey has failed to observe common corporate

formalities and Austin employs numerous family members at Starkey. See Defendant

Jerome Ruzicka’s Motion for a New Trial as a Result of Prosecutorial Misconduct, Ex. 1 at

2, United States v. Ruzicka, 16-cr-00246-JRT-SER (D. Minn. Apr. 12, 2018), ECF No. 438-

1. Starkey also has a “long history” of “doing business with third parties and companies

owned by family members of executives and employees.” Id. at 2.

           143.   Starkey appears to pay dividends to Austin and the ESOP and is solvent.

However, Austin himself is the only shareholder (other than the ESOP) so he siphons a vast

majority of Starkey’s profits. On December 31, 2013, Austin held 93.6% of Starkey’s

outstanding shares and the ESOP held the remaining 6.4%. Other officers of Starkey were

responsible for the day-to-day operations, and appear to be functioning, despite the fact that

several of them perpetrated a multi-million dollar fraud against Starkey.

           144.   Starkey lacks common corporate records and practices. At Starkey, “there was

widespread reluctance to adopt written corporate policies and procedures” and it even failed

to use written employment contracts. Id. During most or all of the class period, there was

no internal controller or auditor that reported to the board. Id. at 3. During most or all of the

class period, Starkey had no ethical codes of conduct for directors or officers, no conflict of

interest policy, no code of business conduct, and no whistleblower policy. Id. at 4-5. The


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lack of these common documents and policies indicate that Starkey failed to keep adequate

records during the class period.

           145.   In many respects, Starkey served as a façade for the personal dealings of its

officers. As described above, for example, former Starkey officers Ruzicka, Nelson, Miller,

and Longtain used the company to transact personal business. Similarly, Austin uses the

company to hire his own relatives and conduct business with family members of executives

and employees. Id. at 2. Examples of this include “acquisitions of businesses, commercial

loans to such businesses and individual[s], retention of vendors owned by employee

spouses, [and] rental payments on leases.” Id. Austin testified at several points during the

criminal trial that Austin and Starkey are “virtually indistinguishable” and that “for all

practical purposes, the Starkey Corporation was Mr. Austin at the time.”

           146.   For these reasons, the veil should be pierced because, as Austin testified at

Ruzicka’s trial, he and Starkey are one and the same. Austin is Starkey’s alter-ego.

           147.   The corporate veil should also be pierced here to avoid injustice or

fundamental unfairness. Through Austin’s mismanagement of Starkey, and according to his

own sworn testimony, Austin entirely failed to notice that Ruzicka had stolen over $30

million and that the ESOP suffered as a result. As the only shareholder apart from the ESOP

and the sole member on the board of directors, Austin functions as Starkey’s alter-ego. The

ESOP should be able to hold Starkey liable for Austin’s breaches of fiduciary duty.

Although Starkey conducts legitimate business and does not merely exist for the purposes

of shielding Austin from financial liability, nearly all of Starkey’s profits are Austin’s assets.




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Austin should not be able to escape liability for his own breaches of fiduciary duties to the

ESOP simply by hiding his personal funds in Starkey.

           148.   For these reasons, piercing the corporate veil is necessary to avoid injustice

or fundamental fairness.

                                            COUNT VI

 CLAIM FOR DAMAGES UNDER RICO, 18 U.S.C. § 1964(c) FOR VIOLATIONS
    OF 18 U.S.C. §§ 1962(c) AND (d) OF RICO BY MEANS OF MAIL FRAUD
  (on behalf of Plaintiffs and the Class against Defendants Ruzicka, Nelson, Miller,
                                 Longtain, and Taylor)

           149.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           150.   Count VI is brought under RICO, 18 U.S.C. § 1964(c) and is asserted against

defendants Ruzicka, Nelson, Longtain, Miller, and Taylor for violations of 18 U.S.C.

§§ 1962(c) and (d).

           151.   For the purposes of Count III, under 18 U.S.C. §§ 1962(c) and (d), Starkey

constitutes the enterprise and is a legal entity.

           152.   Each of the RICO defendants is or has been a “person” employed by or

associated with Starkey. Through their employment by or association with Starkey, the

RICO defendants engaged in activities that affect foreign or interstate commerce, and as

such, have conducted or participated in the conduct of Starkey’s affairs through a pattern of

mail fraud as described above.

           153.   In the course of their employment by or association with Starkey, Defendants

Ruzicka, Nelson, Longtain, Miller, and Taylor used Starkey to conduct specific instances

of mail fraud, as described above and in the criminal indictment brought against Ruzicka

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and his co-conspirators. See Indictment ¶ 66, United States v. Ruzicka, 16-cr-00246-JRT-

SER (D. Minn. Sept. 21, 2016). These instances of mail fraud were indictable under 18

U.S.C. § 1341 because the United States brought criminal indictments for violations of

§ 1341 against Defendants Ruzicka, Miller, Nelson, and Taylor. Defendant Longtain

engaged in similar conduct that was also indictable under § 1341, as described above.

           154.   Defendants Ruzicka, Nelson, Longtain, Miller, and Taylor conspired together

to conduct a pattern of mail fraud as described above.

           155.   Defendants Ruzicka, Nelson, Longtain, Miller, and Taylor are each personally

liable to the ESOP for three times the damages it sustained as a result of their pattern of mail

fraud. Defendants are also liable for the class members’ reasonable attorneys’ fees and costs

of the suit.

           156.   Plaintiffs respectfully request that three times all funds due and to the ESOP

and in the hands of Ruzicka, Nelson, Longtain, Miller, and Taylor be transferred to the

ESOP.

                                           COUNT VII

 CLAIM FOR DAMAGES UNDER RICO, 18 U.S.C. § 1964(c) FOR VIOLATIONS
    OF 18 U.S.C. §§ 1962(c) AND (d) OF RICO BY MEANS OF WIRE FRAUD
  (on behalf of Plaintiffs and the Class against Defendants Ruzicka, Nelson, Miller,
                                 Longtain, and Taylor)

           157.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           158.   Count VII is brought under RICO, 18 U.S.C. § 1964(c) and is asserted against

defendants Ruzicka, Nelson, Longtain, Miller, and Taylor for violations of 18 U.S.C.

§§ 1962(c) and (d).

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           159.   For the purposes of Count VII, under 18 U.S.C. §§ 1962(c) and (d), Starkey

constitutes the enterprise and is a legal entity.

           160.   Each of the RICO defendants is or has been a “person” employed by or

associated with Starkey. Through their employment by or association with Starkey, the

RICO defendants engaged in activities that affect foreign or interstate commerce, and as

such, have conducted or participated in the conduct of Starkey’s affairs through a pattern of

wire fraud as described above.

           161.   In the course of their employment by or association with Starkey, Defendants

Ruzicka, Nelson, Longtain, Miller, and Taylor used Starkey to conduct specific instances

of wire fraud, as described above and in the criminal indictment brought against Ruzicka

and his co-conspirators. See Indictment ¶ 68, United States v. Ruzicka, 16-cr-00246-JRT-

SER (D. Minn. Sept. 21, 2016). These instances of mail fraud were indictable under 18

U.S.C. § 1343 because the United States brought criminal indictments for violations of

§ 1343 against Defendants Ruzicka, Miller, Nelson, and Taylor. Defendant Longtain

engaged in similar conduct that was also indictable under § 1341, as described above.

           162.   Defendants Ruzicka, Nelson, Longtain, Miller, and Taylor conspired together

to conduct a pattern of wire fraud as described above.

           163.   Defendants Ruzicka, Nelson, Longtain, Miller, and Taylor are each personally

liable to the ESOP for three times the damages it sustained as a result of their pattern of wire

fraud. Defendants are also liable for the class members’ reasonable attorneys’ fees and costs

of the suit.




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           164.   Plaintiffs respectfully request that three times all funds due and to the ESOP

and in the hands of Ruzicka, Nelson, Longtain, Miller, and Taylor be transferred to the

ESOP.

                                           COUNT VIII

 CLAIM FOR DAMAGES UNDER RICO, 18 U.S.C. § 1964(c) FOR VIOLATIONS
  OF 18 U.S.C. §§ 1962(c) AND (d) OF RICO BY MEANS OF EMBEZZLEMENT
                          FROM AN ERISA BENEFIT PLAN
  (on behalf of Plaintiffs and the Class against Defendants Ruzicka, Nelson, Miller,
                                 Longtain, and Taylor)


           165.   The foregoing allegations are re-alleged and incorporated by reference as if

fully set forth herein.

           166.   Count VIII is brought under RICO, 18 U.S.C. § 1964(c) and is asserted

against defendants Ruzicka, Nelson, Longtain, Miller, and Taylor for violations of 18

U.S.C. §§ 1962(c) and (d).

           167.   For the purposes of Count V, under 18 U.S.C. §§ 1962(c) and (d), Starkey

constitutes the enterprise and is a legal entity.

           168.   Each of the RICO defendants is or has been a “person” employed by or

associated with Starkey. Through their employment by or association with Starkey, the

RICO defendants engaged in activities that affect foreign or interstate commerce, and as

such, have conducted or participated in the conduct of Starkey’s affairs through a pattern of

stealing ESOP assets as described above.

           169.   In the course of their employment by or association with Starkey, Defendants

Ruzicka, Nelson, Longtain, Miller, and Taylor used Starkey to conduct specific instances

of stealing the Starkey ESOP’s assets, as described above and in the criminal indictment

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brought against Ruzicka and his co-conspirators. See Indictment, United States v. Ruzicka,

16-cr-00246-JRT-SER (D. Minn. Sept. 21, 2016). This conduct is indictable under 18

U.S.C. § 664 because the Defendants stole the ESOP’s assets for their own personal use.

           170.   The ESOP is an employee benefit plan subject to the provisions of title I of

ERISA.

           171.   Defendants Ruzicka, Nelson, Longtain, Miller, and Taylor conspired together

to conduct a pattern of stealing ESOP funds as described above.

           172.   Defendants Ruzicka, Nelson, Longtain, Miller, and Taylor are each personally

liable to the ESOP for three times the damages it sustained as a result of their pattern of

stealing ESOP assets. Defendants are also liable for the class members’ reasonable

attorneys’ fees and costs of the suit.

           173.   Plaintiffs respectfully request that three times all funds due and to the ESOP

and in the hands of Ruzicka, Nelson, Longtain, Miller, and Taylor be transferred to the

ESOP.

                                     PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs demand judgment in their favor against Defendants as

follows:

           A.     Certifying the Class and appointing Plaintiffs as Class Representatives and

Plaintiffs’ counsel as Class Counsel;

           B.     Finding that Defendants Austin, Ruzicka, Nelson, Miller, and Sawalich

violated their fiduciary duties to ESOP participants and awarding Plaintiffs and the Class

such relief as the Court deems proper;


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           C.     Finding that Defendants Austin, Ruzicka, Nelson, Miller, and Sawalich are

liable as fiduciaries and/or co-fiduciaries;

           D.     Finding that Defendants Ruzicka, Nelson, Miller, Longtain, and Taylor

violated RICO by engaging in mail fraud, wire fraud, and stealing ESOP funds and

awarding Plaintiffs and the Class treble damages for the losses they sustained as a result of

Defendant’s RICO violations;

           E.     Awarding Plaintiffs’ counsel attorneys’ fees, reimbursement of out-of-

pocket litigation expenses, expert witness fees, and other costs pursuant to ERISA

§ 502(g)(1), 29 U.S.C. § 1132(g)(1), RICO § 402, 18 U.S.C. § 1964(c), and/or the common

fund doctrine; and

           F.     Awarding compensatory damages, disgorging profits wrongfully made, and

awarding equitable relief, as well as such other and further relief, including prejudgment

interest, as indicated above and that the court deems just and proper.

                                   JURY TRIAL DEMANDED
           Plaintiffs demand a trial by jury on all claims so triable.




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 Dated: July 30, 2019              LOCKRIDGE GRINDAL NAUEN, PLLP

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